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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
              v.                          )      Criminal No. 18-cr-170 (KBJ)
                                          )
JAMES A. WOLFE,                           )
                                          )
              Defendant.                  )
                                          )

                                         ORDER

       The parties appeared before this Court for a status conference on June 19, 2018.

During the conference, the parties represented that they needed additional time to

exchange discovery materials and evaluate their respective positions regarding the

disposition of this matter. Given these representations and the fact that there has been

new defense counsel retained in this matter, the Court found that it was in the interests

of justice to exclude from the Speedy Trial Act calculation the time between the June

19, 2018, status conference and the next status conference in this matter, which is

scheduled for July 9, 2018. Accordingly, it is hereby

       ORDERED that the period from June 19, 2018 through July 9, 2018, inclusive,

is excluded from the Speedy Trial calculation for good cause shown, insofar as the

resulting delay fulfills the ends of justice, and taking such action outweighs the best

interests of the public and the defendant in a speedy trial.


Date: June 20, 2018                              Ketanji Brown Jackson
                                                 KETANJI BROWN JACKSON
                                                 United States District Judge
